           Case 1:10-cv-03106-CL       Document 1               Filed 10/01/10   Page 1 of 4




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                          TINITED STATES DISTRICT COT]RT

                               DISTRICT OF OREGON

                                MEDFORD DIVISION

                                                       Case No.;
JOAI\NMURRAY,
                                                       coMPLdNT;
             Plaintift,
      vs.                                              lfFr?'"83""3,'u13?1',o")05l"o""'
CREDIT     PRoTEcTIoN                                  DEMAND FOR J{JRY TRIAL
ASSOCIATION, LP,
             Defendant.



                                I.   INTRODUCTION

      l.     This is an action for damages brought by an individual consumer for

Defendant's violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. $

1692, et seq. Qrcrenafter "FDCPA').

                                II. JIruSDICTION
      2-     Plaintifls claim for violations of the FDCPA arises under 15 U.S.C.               S


1692k(d), and therefore involves a "federal question" pusuant to 28 USC S 1331.



                                      Cornplaint   -   Page I
            Case 1:10-cv-03106-CL         Document 1               Filed 10/01/10   Page 2 of 4




                                          III.   PARTIES

       3.     Plaintiff, JoArur Munay ("Plaintiff'), is a natural person residing in Jackson

County, Oregon.

       4.     Defendant, Credit Protection Association,                     LP, ("Defendant")        is   a


corporation engaged in the business ofcollecting debts by use ofthe mails and telephone.

Defendant regularly attempts to collect d€bts alleged due another.

                                IV. FACTUAL ALLEGATIONS
       5.     Defendant is a "debt collector" as dehned by the FDCPA, 15 U.S.C. $

r692a(6).

       6.     Plaintiffis   a   "consumer" as defined by the FDCPA, 15 U.S.C. $ 1692a(3).

       7.     All activities of Defendant set out herein were undertaken in connection

with the collection ofa "debt,"     as defined   by l5 USC $ 1692a(5).

       8.     Within the last year, Defendant took multiple actions in an attempt to

collect a debt from Plaintiff Defendant's conduct violated th€ FDCPA in multiple ways,

including the following.

       9.     Causing Plaintiffs telephone to ring repeatedly or conlinuously with intent

to harass, annoy or abuse Plaintiff, including calling Plaintiffmultiple times after Plaintiff

told Defendant she was not the person they sought and did not owe the debt that

Defendant was attempting to collect ($ 1692d(5)).

       10.    As a result of the         aforementioned violations,             Plaintiff suffered   and

continues to suffer injuries to     Plaintiffs feelings, personal humiliation,         embarrassment,



                                          Complaint   -   Page 2
             Case 1:10-cv-03106-CL    Document 1                Filed 10/01/10   Page 3 of 4




mental anguish and seyere emotional distress.

       ll.      Defendant intended   to   cause,      by means of lhe actions detailed above,

injuries to Plaintifls feelings, personal humiliation, embarrassment, mental anguish and

severe emotional distress.

       12.     Defendant's actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

       13.     To the extent Defendant's aclions, detailed in paragraphs 8-9, were carried

out by ar employee ofDefendant, that employee was acting within the scope ofhis or her

employment.

   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       14.     Plainliffreincorporates by reference all ofthe preceding paragraphs.

       15.     The preceding paragraphs stale         a   prima facre case for Plaintiff and against

Defendant for violarions ofthe FDCPA, $$ 1692d              &   1692d(5).

                                PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully prays that judgment be ent€red against the

Defendant for the following:

      A.       Declaratory judgment that Defendant's conduct violated the FDCPA;

      B.       Actual damages pursuant to 15 USC 1692k;

      C.       Statutory damages pursuant to 15 U.S.C. g 1692k;

      D.       Costs, disbursements and reasonable attomey's fees                 for all   successful

claims, and any unsuccessful claims arising out ofthe same traqsaction or occurrence as


                                      Complaint   -   Pag€ 3
          Case 1:10-cv-03106-CL       Document 1       Filed 10/01/10     Page 4 of 4




the successfirl claimq pursurnt to 15 U.S.C. g 16921     rn4
      E      For such other and   finter rcliefos   may bejust md proper.

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                                             Dated    trb   28s day of Septcmbcr, 2010.



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